                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

Civil Action No.: ________

RAJAE BOUHAMIDI,

       Plaintiff,

v.

CORRECTIONAL OFFICER JUSTIN TORRES, in his individual capacity,
EXECUTIVE DIRECTOR MOSES “ANDRE” STANCIL, in his individual capacity capacity;
WARDEN RYAN LONG, in his individual capacity, and
ASSOCIATE WARDEN LUCILLE REAUX, in her individual capacity,

      Defendants.
_____________________________________________________________________________

                      COMPLAINT AND JURY DEMAND
_____________________________________________________________________________

       Plaintiff Rajae Bouhamidi, by and through her undersigned attorneys, David A. Lane,

Liana G. Orshan, and Maddie S. Lips of KILLMER LANE, LLP, respectfully alleges for her

Complaint and Jury Demand as follows.

                                      I. INTRODUCTION

       1.      This is an action for damages and other relief against the prison official who

sexually assaulted Ms. Rajae Bouhamidi while she was an inmate at Denver Women’s

Correctional Facility, and the prison officials whose actions and inactions led to Ms. Bouhamidi’s

repeated assault. Ms. Bouhamidi is the victim of a system that looked the other way as Defendant

Justin Torres treated Ms. Bouhamidi as an object of his own sexual gratification. As a result, Ms.

Bouhamidi has sustained emotional injuries.

                               II. JURISDICTION AND VENUE

       2.      This action arises under the Constitution and laws of the United States.




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       3.      Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. § 1331.

Jurisdiction supporting Plaintiff’s claims for attorney fees and costs is conferred by 42 U.S.C.

§ 1988.

       4.      Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391(b). All of

the events alleged herein occurred within the State of Colorado, and all of the parties were

residents of the State of Colorado at all times relevant to the subject matter of this Complaint.

                                          III. PARTIES

       Plaintiff:

       5.      At all times relevant to the subject matter of this Complaint, Plaintiff Rajae

Bouhamidi was a citizen of the United States and a resident of the State of Colorado.

       6.      During the relevant time period, Ms. Bouhamidi was detained at Denver Women’s

Correctional Facility, a facility within the Colorado Department of Corrections (“DOC”).

       7.      Because Ms. Bouahmidi grieved the conduct at issue in this Complaint and her

grievance resulted in an investigation by DOC, all available administrative remedies have been

exhausted to the extent required by the Prison Litigation Reform Act, 42 U.S.C. § 1997e(a).

There are no other administrative exhaustion requirements that would pose as a bar to the claims

asserted herein.

       Defendants:

       8.      The Denver Women’s Correctional Facility (“DWCF”), located at 3600 Havana

Street, Denver, CO 80239, is a prison in the Colorado state prison system. It is operated by the

Colorado Department of Corrections (“DOC”), an agency of the State of Colorado that operates

state prisons and is responsible for maintaining and providing for the care, custody, and

supervision of individuals detained at such prisons and jails.




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       5.      At all times relevant to the subject matter of this litigation, Defendant Moses

“Andre” Stancil was a citizen of the United States and a resident of Colorado and was acting

under color of state law and within the scope of his employment in his capacity as the Executive

Director of DOC. Pursuant to Colorado law, Mr. Stancil is the state official who manages,

supervises, and controls the correctional institutions operated by the State of Colorado, including

DWCF, and who is responsible for developing policies and procedures with respect to the

operation of DOC and its facilities like DWCF.

       6.      At all times relevant to the subject matter of this litigation, Defendant Ryan Long

was a citizen of the United States and a resident of Colorado and was acting under color of state

law and within the scope of his employment in his capacity as Warden of DWCF. As the Warden,

Mr. Long was responsible for overseeing all operations at DWCF, including establishing

procedures for the operations of DWCF on a day-to-day basis, the hiring of prison staff, ensuring

that all DWCF employees were properly trained, and establishing internal security procedures.

       7.      At all times relevant to the subject matter of this litigation, Defendant Lucille

Reaux was a citizen of the United States and a resident of Colorado and was acting under color

of state law and within the scope of her employment in her capacity as Associate Warden of

DWCF, which included overseeing operations and hiring, training, and supervision of all staff at

DWCF.

       8.      At all times relevant to the subject matter of this litigation, Defendant Justin

Torres was a citizen of the United States and a resident of Colorado and was acting under color

of state law and within the scope of his employment in his capacity as a Correctional Officer

employed at DWCF.




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                                IV. FACTUAL ALLEGATIONS

       Defendant Torres sexually harassed Ms. Bouhamidi at DWCF.

       9.      During the relevant time period, Plaintiff Rajae Bouhamidi, who is female, was an

inmate under the custody of DOC who was housed at DWCF.

       10.     At the end of 2022, Ms. Bouhamidi started working in the kitchen at DWCF. Part

of her assigned duties was to serve meals.

       11.     At that time, Defendant Justin Torres, a male correctional officer working at

DWCF, was also posted in the kitchen.

       12.     Shortly after Ms. Bouhamidi started working in the kitchen, Defendant Torres

began to sexually harass Ms. Bouhamidi.

       13.     Mr. Torres started repeatedly complimenting Ms. Bouhamidi’s appearance or

telling her that he wanted to marry her.

       14.     Accustomed to similar comments from other DWCF staff and afraid of retaliation

from Defendant Torres, Ms. Bouhamidi did not report the comments.

       15.     Other people noticed Defendant Torres’ inappropriate interest in Ms. Bouhamidi.

       16.     For example, Correctional Officer Harris, also stationed in the kitchen, made

several observations to Ms. Bouhamidi about Defendant Torres’ behavior, including that

Defendant Torres followed Ms. Bouhamidi around, that it was obvious that Defendant Torres

liked Ms. Bouhamidi, and that Defendant Torres always wanted to be close to Ms. Bouhamidi.

       17.     Other inmates also repeatedly made comments to Ms. Bouhamidi to the effect that

Defendant Torres was interested in her and would ask about her when she was not around.

       Defendant Torres repeatedly sexually assaulted Ms. Bouhamidi in the staff restroom at
       DWCF.

       18.     Defendant Torres started to take more shifts in the kitchen when Ms. Bouhamidi


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was working there.

          19.   After a few weeks of verbal harassment, starting on or about February 1, 2023,

Defendant Torres began ordering Ms. Bouhamidi to clean the staff restroom. To do so required

removing Ms. Bouhamidi from her duties in the kitchen.

          20.   The staff restroom is not under video surveillance and is secluded from other staff

and inmates.

          21.   Defendant Torres threatened to give Ms. Bouhamidi a negative “chron”—an

informational note in her record which can result in a formal write up if several are

accumulated—if she did not agree to clean the staff restroom. He told her he would give her a

positive “chron” if she did clean the bathroom.

          22.   Defendant Torres further threatened Ms. Bouahmidi that he would write her up for

disobeying a lawful order if she did not comply

          23.   As an inmate subject to Defendant Torres’ control, Ms. Bouhamidi felt that she

had no option but to oblige.

          24.   While Ms. Bouhamidi was cleaning the staff restroom, alone and outside the

scope of surveillance cameras, Defendant Torres started to sexually assault her.

          25.   For example, frequently when Ms. Bouhamidi bent down to clean, sweep, or mop,

Defendant Torres pressed his body weight against Ms. Bouhamidi. When Defendant Torres did

so, Ms. Bouhamidi felt Defendant Torres’ aroused genitals against her backside.

          26.   Defendant Torres also repeatedly groped Ms. Bouhamidi’s breasts and genitals,

kissed her neck, and smelled her hair, telling her it smelled like green apple.

          27.   Ms. Bouahmidi responded to these assaults by trying to push Defendant Torres off

of her.




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       28.     On at least one occasion, Defendant Torres walked up from behind Ms.

Bouhamidi, pressed his body against hers, and put his hand down Ms. Bouhamidi’s pants, briefly

penetrating her vaginally with his finger.

       29.     To minimize Defendant Torres’ opportunity to assault her, Ms. Bouhamidi

attempted to clean the staff restroom very quickly. When she did so, Defendant Torres would

order Ms. Bouhamidi to take her time and clean the restroom again, telling her she missed a spot.

       30.     Ms. Bouhamidi repeatedly showed no interest in Defendant Torres, and she told

Defendant Torres that what he was doing was wrong. She tried to move away from him when he

touched her and pressed himself against her.

       31.     Despite Ms. Bouhamidi’s clear disinterest, Defendant Torres ordered Ms.

Bouhamidi to clean the staff restroom every chance he got. This ranged from once a week to

multiple times in the same week, and even on back-to-back days.

       32.     At one point, Defendant Torres was assigned to the tower and then only posted to

the kitchen on Sunday. Each Sunday, then, he required Ms. Bouahmidi to clean the staff

bathroom.

       33.     Ms. Bouhamidi cleaned the staff restroom so frequently, and received so many

positive “chrons” from Defendant Torres for doing so, that on one occasion she was able to pick

from a grab box of women’s hygiene products as a reward.

       34.     In April or May 2023, in an effort to escape Defendant Torres’ unrelenting sexual

abuse, Ms. Bouhamidi stopped reporting to the kitchen for work. She did so even with the

knowledge that she could be written up.

       35.     Ms. Bouhamidi received at least one negative “chron” for her failure to report to

the kitchen, but she did not try to explain her absence or file a formal grievance against




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Defendant Torres because she was afraid of retaliation.

        Despite Ms. Bouhamidi attempts to evade Defendant Torres, he continually sought out
        opportunities to sexually harass her.

        36.    Shortly after Ms. Bouhamidi stopped reporting to the kitchen for work, Defendant

Torres was reassigned to Ms. Bouhamidi’s unit.

        37.    Ms. Bouhamidi suspected that Defendant Torres requested his assignment to be

changed so that he could have access to her again.

        38.    Although Defendant Torres no longer had a way to isolate Ms. Bouhamidi to

physically sexually abuse her, he continued to sexually harass Ms. Bouhamidi.

        39.    Defendant Torres repeatedly touched Ms. Bouhamidi’s back or butt when she got

out of the shower or ran his hands through her hair as he was doing rounds in her unit.

        40.    Defendant Torres constantly told Ms. Bouahmidi he wanted to marry her.

        41.    Other inmates noticed this and made comments to Ms. Bouhamidi that she was

Defendant Torres’ “favorite.”

        42.    Ms. Bouhamidi tried to stay away from Defendant Torres, but he continually

sought out opportunities to be near her.

        43.    For example, Defendant Torres would call Ms. Bouhamidi over to speak to him

and would communicate with her via the intercom in her room.

        44.    Again, Ms. Bouhamidi felt that she had no choice but to talk to Defendant Torres

when he called for her because he could impose discipline against her.

        45.    On May 15, 2023, Ms. Bouhamidi was transferred to La Vista Correctional

Facility.

        46.    Ms. Bouhamidi’s friends from DWCF wrote to Ms. Bouhamidi at La Vista that

Defendant Torres was asking about her, and that he said he would be waiting for her when she


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was released from prison.

          Defendant Torres continued to sexually harassment Ms. Bouhamidi once she was
          released from the Colorado Department of Corrections.

          47.    In October 2023, Ms. Bouhamidi was released from DOC.

          48.    In November of 2023, Defendant Torres reached out to Ms. Bouhamidi via

Facebook under the pseudonym “Jay Monet.”

          49.    Defendant Torres repeatedly texted Ms. Bouhamidi via Facebook Messenger and

called her via Facebook video call.

          50.    Ms. Bouhamidi occasionally replied to Defendant Torres’ messages and calls

because she was afraid of retaliation if she did not.

          51.    On a few occasions, Defendant Torres asked to see Ms. Bouhamidi’s breasts or

genitals on a video call.

          52.    Ms. Bouhamidi ended the calls when Defendant Torres would make these

requests.

          53.    Another correctional officer from DWCF, Correctional Officer Powell, also

contacted Ms. Bouahmidi after her release. Powell repeatedly asked her for sex and explicitly

photos.

          Ms. Bouhamidi attempted to grieve Defendant Torres’ sexual harassment and abuse at
          La Vista Correctional Facility.

          54.    In 2024, Ms. Bouhamidi returned to DOC and was again assigned to DWCF,

where Defendant Torres remained as a correctional officer.

          55.    Though Defendant Torres did not attempt to sexually assault Ms. Bouhamidi

again, she observed other female inmates receiving similar attention from Defendant Torres. She

observed him flirting with other female inmates and taking posts to be near them.




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        56.    One inmate in particular informed Ms. Bouhamidi that she and Defendant Torres

had secret hand signals: Defendant Torres would make a certain sign with his hands if he wanted

to have sexual intercourse with her, and he would make a different sign if he wanted oral sex.

        57.    Later, Defendant Torres made one of these hand signals to Ms. Bouhamidi.

        58.    Ms. Bouhamidi confronted Defendant Torres about the sign, and she told him she

knew what the signal meant.

        59.    After Ms. Bouhamidi confronted him, Defendant Torres’ face turned flush out of

embarrassment, and he avoided Ms. Bouhamidi for the rest of the day.

        60.    Shortly thereafter, Ms. Bouhamidi was transferred to La Vista Correctional

Facility.

        61.    Away from Defendant Torres’ control, Ms. Bouhamidi filed a formal grievance

against Defendant Torres in or around September of 2024.

        62.    Ms. Bouhamidi was informed by her shift commander that Defendant Torres’

sexual harassment at DWCF was not a grievance matter but rather a criminal matter. DOC

officials repeatedly refused to allow her to continue with the grievance process.

        63.    In response to Ms. Bouhamidi’s grievance, DOC Office of Inspector General

(OIG) initiated an investigation.

        64.    An assigned OIG investigator, Desmond Manning, met with Ms. Bouhamidi at

various times to discuss Defendant Torres’ sexual abuse.

        65.    DOC suspended Defendant Torres from his duties at DWCF while the

investigation is pending.

        66.    At the time of filing this Complaint, the OIG investigation is not yet complete.

        67.    Ms. Bouhamidi suffered and continues to suffer emotional trauma resulting from




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Defendant Torres’ sexual abuse.

       Guards at DWCF have a history of sexual abuse of female inmates.

       68.     In 2009, an inmate at DWCF, “A.H.,” was awarded $1.3 million against a former

DWCF guard who had repeatedly coerced her into performing sexual acts and then raped her.

The same guard had previously engaged in sexual misconduct with other female inmates, a fact

well known to prison officials.

       69.     Prison officials, including the Office of the Executive Director of DOC and

Defendant Stancil, Office of the Associate Warden of DWCF and Defendant Reaux, and the

Office of the Warden of DWCF and Defendant Long, knew of ongoing and pervasive sexual

misconduct and abuse perpetrated by DOC prison officials against inmates housed at DWCF

through receipt of letters, grievances, kites, formal complaints, and civil suits filed by DWCF

inmates regarding widespread sexual abuse of inmates by prison officials.

       70.     As part of a 2009 settlement between A.H. and DOC officials, DOC agreed to

conduct supplemental annual training under the Prison Rape Elimination Act (“PREA”), focused

on preventing DOC employee-on-inmate sexual contact. DOC also agreed to uphold a “zero

tolerance” policy consistent with PREA regarding DOC employee-on-inmate sexual contact,

including mandating that DOC employees report any information regarding DOC employee-on

inmate sexual contact, with failure to do so resulting in discipline.

       71.     Yet in 2011 and 2012, DWCF had the highest rate in the country of alleged sexual

assault or misconduct by correctional facility staff members against inmates, with an estimated

10.7% of inmates claiming they were victims of sexual assault or sexual misconduct by staff

members. This rate was 4 times the national average. Of all DWCF inmates subjected to sexual

misconduct by staff, 7.3% reported they had been physically coerced or threatened with physical




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force, 10 times higher than the national average.

        72.      Thus, despite its professed “zero-tolerance” policy in 2009, DWCF officials and

supervisors, including Defendants Stancil, Reaux, and Long (“Supervisory Defendants”),

subsequently failed to institute appropriate measures to protect inmates, including Ms.

Bouhamidi, from the known risk of sexual misconduct and assault by correctional officers.

        73.      Showing that the pattern of known abuse continued without adequate remedial

measures taken, in 2022, DOC settled a lawsuit brought by Plaintiff Susan Ullery, a former

DWCF inmate, for $300,000. Ms. Ullery’s lawsuit was based on a DOC employee sexually

assaulting her while at DWCF, and brought against several DOC officials who failed to protect

her from the risk of sexual assault despite their knowledge of such risk.

        74.      Notably, the employee who sexually abused Ms. Ullery was not terminated, but

rather allowed to retire with full retirement benefits, sending a message to all DOC employees

that DOC does not punish those who commit sexual assault against DWCF inmates.

        75.      DOC’s tacit approval of sexual assault by DWCF employees sends a clear and

unequivocal message to those employees—such approval and failure to appropriate respond

actually trains DWCF employees—that sexual assault against inmates is acceptable, consistent

with policy, and is approved practice, causing such sexual assault to be likely or even inevitable

in the future.

        76.      Supervisory Defendants are responsible for training DWCF employees to ensure

they perform their duties consistent with the law and to discipline their improper conduct, so

officers can learn from their experiences and be deterred from engaging in future misconduct that

violates the constitutional rights of DWCF inmates. Supervisory Defendants’ failure to do so has

communicated to DOC employees, including Defendant Torres, that sexual assault against




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DWCF inmates is authorized. In this sense, the failure to discipline constitutes training which

authorizes future similar unconstitutional conduct.

       77.      Defendants Stancil, Long, and Reaux knowingly, recklessly, and intentionally

disregarded obvious serious risks to Ms. Bouhamidi and other DWCF inmates posed by

widespread and pervasive sexual abuse of inmates at DWCF in at least the following ways:

                   a. failing to take timely substantive remedial actions to address the known,

                       ongoing, pervasive problem of sexual abuse by prison staff against DWCF

                       inmates;

                   b. failing to properly hire, train, and/or supervise prison personnel, including

                       Defendant Torres, to prevent and/or address known pervasive sexual abuse

                       of DWCF inmates by prison staff, despite the obvious need to do so;

                   c. continuing to employ DWCF prison staff in positions that allow them

                       unsupervised access to female inmates; and

                   d. failing to maintain a proper video surveillance system in all locations

                       where inmates have contact with guards.

       78.      This conduct amounts to deliberate indifference to the rights of the inmates

housed at DWCF, including Ms. Bouhamidi, and was so grossly reckless that the sexual

misconduct against Ms. Bouhamidi was virtually inevitable.

                                    V. CLAIMS FOR RELIEF

                              FIRST CLAIM FOR RELIEF
      42 U.S.C. § 1983 – Eighth Amendment – Cruel and Unusual Punishment Clause
                                    Excessive Force

       79.      Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set

forth herein.




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       80.      Defendants Stancil, Reaux, and Long (“Supervisory Defendants”) and Defendant

Torres were acting under color of state law and within the scope of their employment at all times

relevant to this action.

       81.      Defendant Torres purposefully and knowingly used physical force against Ms.

Bouhamidi by touching her breasts and buttocks, pressing his groin against her, and forcibly

penetrating her vagina without her consent.

       82.      Defendant Torres’ use of force against Ms. Bouhamidi caused her unnecessary

and wanton pain.

       83.      Defendant Torres’ use of force against Ms. Bouhamidi had no legitimate

penological purpose.

       84.      The force used by Defendant Torres against Ms. Bouhamidi thus was used

maliciously and sadistically for the very purpose of causing harm.

       85.      For years before Ms. Bouhamidi’s assault, Supervisory Defendants knew of and

failed to take reasonable measures to abate the substantial risk of serious harm to inmates posed

by widespread sexual abuse by DWCF prison staff against inmates.

       86.      It would have been obvious to those in Supervisory Defendants’ positions that

inmates at DWCF, including Ms. Bouhamidi, faced a substantial risk of serious harm from

sexual abuse by staff.

       87.      Supervisory Defendants failed to provide humane conditions of confinement for

Ms. Bouhamidi and other similarly situated inmates by failing to implement practices, policies

and procedures that protected inmates, including Ms. Bouhamidi, from the substantial risk of

serious harm posed by prison staff using their positions to sexually harass and assault inmates.




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       88.     The Supervisory Defendants, by and through their official duties within DOC,

failed to properly train, supervise, and/or discipline their employees, including Defendant Torres,

regarding sexual assault and harassment of inmates resulting in inhumane conditions of

confinement.

       89.     In light of the post-2009 history of widespread and persistent sexual abuse by

DWCF staff against inmates, the need for additional and effective training, supervision, and

discipline of guards regarding sexual acts with inmates was obvious.

       90.     Supervisory Defendants thus knew that their acts or omissions were substantially

certain to cause DWCF officials to violate the constitutional rights of inmates like Ms.

Bouhamidi to be free from excessive force in the form of sexual abuse, and Supervisory

Defendants consciously or deliberately chose to disregard this risk of harm in failing to provide

and/or in deliberately choosing not to provide additional effective training, supervision, and

discipline of guards regarding sexual acts with inmates.

       91.     Therefore, Supervisory Defendants set in motion a series of events that they knew

would cause an inmate in a similar situation as Ms. Bouhamidi to be deprived of her

constitutional right to be free from excessive force; but for the above acts or omissions of

Supervisory Defendants, Ms. Bouhamidi would not have been subjected to a violation of her

constitutional rights; and such a deprivation was a natural and foreseeable consequence of these

acts and omissions.

       92.     Supervisory Defendants’ failure to properly train, supervise, and discipline their

employees, including Defendant Torres, was the proximate cause of the violation of Ms.

Bouhamidi’s constitutional rights.

       93.     Defendant Torres’ and the Supervisory Defendants’ actions and inactions were




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taken in reckless and callous indifference to the federally protected rights of Ms. Bouhamidi.

        94.     The acts or omissions of Defendant Torres and Supervisory Defendants were the

legal and proximate cause of Ms. Bouhamidi’s damages in that she suffered physical intrusion

into bodily privacy and integrity, humiliation, and mental and emotional pain and anguish, and

continues to suffer mental and emotional pain and anguish to this day and likely for the rest of

her life.

        95.     As a direct and proximate cause and consequence of the unconstitutional policies,

procedures, customs, acts, inactions, and/or practices described above, Ms. Bouhamidi suffered

and continues to suffer injuries, damages, and losses as set forth herein.

                             SECOND CLAIM FOR RELIEF
        42 U.S.C. § 1983 – Fourteenth Amendment – Substantive Due Process Clause
                                Invasion of Bodily Integrity

        96.     Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set

forth herein.

        97.     Defendants Stancil, Reaux, and Long (“Supervisory Defendants”) and Defendant

Torres were acting under color of state law and within the scope of their employment at all times

relevant to this action.

        98.     By sexually harassing and assaulting Ms. Bouhamidi without her consent,

Defendant Torres violated Ms. Bouhamidi’s right to be secure in her bodily integrity, a liberty

interest protected by the Due Process Clause of the Fourteenth Amendment.

        99.     Supervisory Defendants recklessly, with conscious disregard to the serious and

obvious risk to the safety of inmates like Ms. Bouhamidi, violated Ms. Bouhamidi’s right to be

secure in her bodily integrity by allowing pervasive sexual abuse by prison personnel against

inmates to continue in at least the following ways:




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                               a. by failing to take effective remedial actions to address the

                                   known, ongoing, pervasive problem of sexual abuse by prison

                                   personnel against inmates;

                               b. by failing to properly train, and/or supervise prison personnel

                                   to prevent and/or address pervasive sexual assault by prison

                                   personnel against inmates at DWCF;

                               c. continuing to employ DWCF prison staff in positions that

                                  allow them unsupervised access to female inmates; and

                               d. failing to maintain a proper video surveillance system in all

                                  locations where inmates had contact with guards.

       100.    Supervisory Defendants, by and through their official duties within DOC, failed

to properly and effectively train, supervise, and/or discipline their employees, including

Defendant Torres, regarding sexual abuse of inmates, resulting in an unconstitutional invasion of

Ms. Bouhamidi’s bodily integrity and a deliberate indifference to the substantial risk of serious

harm to Ms. Bouhamidi and other similarly situated inmates.

       101.    Supervisory Defendants knew that their acts or omissions were substantially

certain to cause DWCF officials to violate constitutional rights of inmates like Ms. Bouhamidi to

be free from secure in their bodily integrity, and Supervisory Defendants consciously or

deliberately chose to disregard this risk of harm in failing to provide and/or in deliberately

choosing not to provide additional effective training, supervision, and discipline of guards,

regarding sexual acts with inmates.

       102.    In light of the duties and responsibilities of DOC personnel who exercise control

over individuals incarcerated at DWCF, and the post-2009 history of sexual abuse by guards




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against inmates, the need for training, supervision and discipline regarding sexual acts with

inmates was so obvious, and the inadequacy of appropriate hiring, training, and/or supervision

was so likely to result in the violation of constitutional rights, such as those described herein, that

Supervisory Defendants’ failure to appropriately train and/or supervise DOC personnel like

Defendant Torres and his direct supervisors constituted deliberate indifference to the rights of

inmates like Ms. Bouhamidi to be secure in their bodily integrity.

       103.    Supervisory Defendants, by and through their official duties within DOC,

proximately caused an unconstitutional invasion of Ms. Bouhamidi’s bodily integrity by failing

to implement effective practices, policies, and procedures that would have protected inmates,

including Ms. Bouhamidi, from the substantial and known risk of serious harm posed by prison

personnel using (and abusing) their authority and influence to sexually abuse inmates.

       104.    Supervisory Defendants set in motion a series of events that they knew would

cause an inmate in a similar situation as Ms. Bouhamidi to be deprived of her constitutional right

to be secure in her bodily integrity; but for the above acts or omissions of Supervisory

Defendants, Ms. Bouhamidi would not have been subjected to a violation of her constitutional

rights; and such a deprivation was a natural and foreseeable consequence of these acts and

omissions.

       105.    Such policies, as well as Defendants’ actions and inactions, violated Ms.

Bouhamidi’s substantive due process right to bodily integrity under the Fourteenth Amendment

to the United States Constitution.

       106.    Defendant Torres’ and the Supervisory Defendants’ actions and inactions were

taken in reckless and callous indifference to the federally protected rights of Ms. Bouhamidi.




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        107.    When viewed in total, this conduct is outrageous and shocks the conscience.

Among other things, despite Supervisory Defendants’ knowledge of continuing and pervasive

sexual assault by guards against inmates at DWCF since the 2009 rape of A.H., Supervisory

Defendants failed to take appropriate actions to protect inmates like Ms. Bouhamidi, even

knowing the severe harm that befell A.H. from the same failures years before.

        108.    The acts or omissions of Defendant Torres and Supervisory Defendants were the

legal and proximate cause of Ms. Bouhamidi’s damages in that she suffered physical intrusion

into bodily privacy and integrity, humiliation, and mental and emotional pain and anguish, and

continues to suffer mental and emotional pain and anguish to this day and likely for the rest of

her life.

        109.    As a direct and proximate cause and consequence of the unconstitutional policies,

procedures, customs, and/or practices described above, Ms. Bouhamidi suffered and continues to

suffer injuries, damages and losses as set forth herein.

                               THIRD CLAIM FOR RELIEF
            42 U.S.C. § 1983 – Fourteenth Amendment – Equal Protection Clause
                                     Sexual Harassment

        110.    Ms. Bouhamidi hereby incorporates all other paragraphs of this Complaint as if

fully set forth herein.

        111.    Defendants Stancil, Reaux, and Long (“Supervisory Defendants”) and Defendant

Torres were acting under color of state law and within the scope of their employment at all times

relevant to this action.

        112.    Ms. Bouhamidi is female and therefore a member of a protected class under the

Fourteenth Amendment to the United States Constitution.




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        113.     Defendant Torres discriminated against and otherwise abused Ms. Bouhamidi

because of her sex.

        114.     Defendant Torres mistreated Ms. Bouhamidi by, among other things, repeatedly

and intentionally sexually harassing and assaulting her as more fully described above.

        115.     Defendant Torres abused his authority for the purpose of his own sexual

gratification.

        116.     Defendant Torres knew at all relevant times that Ms. Bouhamidi had no interest in

having sexual contact with him.

        117.     Defendant Torres nonetheless persisted in sexually harassing and abusing Ms.

Bouhamidi despite knowing it was unwelcome.

        118.     Defendant Torres’ conduct violated clearly established rights belonging to Ms.

Bouhamidi of which reasonable persons in Defendant Torres’ position knew or should have

known.

        119.     Supervisory Defendants’ deliberate indifference to the pervasive sexual assault by

DWCF employees against DWCF inmates, who were all women, proximately caused the

violation of Ms. Bouhamidi’s equal protection rights by failing to implement effective practices,

policies, and procedures that would have protected inmates, including Ms. Bouhamidi, from the

substantial and known risk of serious harm posed by prison personnel using (and abusing) their

authority and influence to sexually abuse inmates.

        120.     Supervisory Defendants set in motion a series of events that they knew would

cause an inmate in a similar situation as Ms. Bouhamidi to be deprived of her constitutional right

to equal protection; but for the above acts or omissions of Supervisory Defendants, Ms.

Bouhamidi would not have been subjected to a violation of her constitutional rights; and such a




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deprivation was a natural and foreseeable consequence of these acts and omissions.

       121.    Defendants’ conduct was motivated by evil motive or intent and/or involved

reckless or callous indifference to the federally protected rights of Ms. Bouhamidi.

       122.    Defendants’ actions and/or omissions caused, directly and proximately, Ms.

Bouhamidi to suffer damages. The acts and inactions of Defendants caused Ms. Bouhamidi’s

damages.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her favor

and against Defendants and grant:

(a)    Appropriate declaratory and other injunctive and/or equitable relief;

(b)    Compensatory and consequential damages, including damages for emotional
       distress, humiliation, loss of enjoyment of life, and other pain and suffering on all
       claims allowed by law in an amount to be determined at trial;

(c)    All economic losses on all claims allowed by law;

(d)    Punitive damages on all claims allowed by law and in an amount to be determined at
       trial;

(e)    Attorney fees and the costs associated with this action including expert witness fees on all
       claims allowed by law;

(f)    Pre- and post-judgment interest at the lawful rate; and

(g)    Any further relief that this court deems just and proper, and any other relief as allowed by
       law and equity.

        PLAINTIFF REQUESTS A TRIAL TO A JURY ON ALL ISSUES SO TRIABLE.

        Dated this 1st day of February 2025.


                                               s/ David A. Lane
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                                               Liana Orshan
                                               Maddie Lips


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